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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA


EDDYSTONE RAIL COMPANY, LLC,           :
         Plaintiff/Counter-defendant,  :
                                       :
   v.                                  :
                                       :
BRIDGER LOGISTICS, LLC, et al.,        : No. 2:17-cv-00495-JD
          Defendants,                  :
                                       :
BRIDGER LOGISTICS, LLC, et al.,        :
          Defendants/Counterclaimants. :
                                       :
                                       :


  [PROPOSED] ORDER ON DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
        ON PLAINTIFF’S COUNT IV (BREACH OF FIDUCIARY DUTY)

       Before me is the Motion for Summary Judgment on Plaintiffs’ Count IV filed by

Defendants Bridger Logistics, LLC, Ferrellgas Partners, L.P., and Ferrellgas, L.P. I find that

there is no genuine issue as to any material fact and that Defendants are entitled to judgment as a

matter of law on Plaintiff’s Count IV.

       Defendants’ Motion for Summary Judgment on Count IV is GRANTED.




                                             JUDGE DuBOIS, JAN E.
                                             SENIOR UNITED STATES DISTRICT JUDGE



Dated this ________ day of _________________, 20_____.




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